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                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 19767233
Notice of Service of Process                                                                            Date Processed: 05/08/2019

Primary Contact:           Ms. Mona Cohen
                           Assurant
                           11222 Quail Roost Drive
                           Miami, FL 33157-6596

Entity:                                       American Security Insurance Company
                                              Entity ID Number 1874436
Entity Served:                                American Security Insurance Company
Title of Action:                              Juan Mata vs. American Security Insurance Company
Document(s) Type:                             Citation/Petition
Nature of Action:                             Contract
Court/Agency:                                 Webb County District Court, TX
Case/Reference No:                            2019CVK000810D2
Jurisdiction Served:                          Texas
Date Served on CSC:                           05/06/2019
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           J. Michael Moore
                                              956-631-0745

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com




                                                           EXHIBIT C
     Case 5:19-cv-00074 Document 1-4 Filed on 06/04/19 in TXSD Page 2 of 36
j
                                                                              SERVE
                                                                     2019CVK000810D2
                            CITATION BY CERTIFIED MAIL
                                THE STATE OF TEXAS
         PLAINTIFF'S ORIGINAL PETITION AND FIRST SET OF DISCOVERY REQUESTS

NOTICE TO THE DEFENDANT: "YOU HAVE BEEN SUED. YOU MAY EMPLOY AN ATTORNEY. IF YOU
OR YOUR ATTORNEY DO NOT FILE A WRITTEN ANSWER WITH THE CLERK WHO ISSUED THIS
CITATION BY 10:00 A.M. ON THE MONDAY NEXT FOLLOWING THE EXPIRATION OF TWENTY DAYS
AFTER YOU WERE SERVED THIS CITATION AND PLAINTIFF'S ORIGINAL PETITION AND FIRST
SET OF DISCOVERY REQUESTS, A DEFAULT JUDGMENT MAY BE TAKEN AGAINST YOU."

TO: AMERICAN SECURITY INSURANCE COMPANY
      BY SERVING: CORPORATION SERVICE COMPANY
      211 E 7TH ST, STE 620
      AUSTIN TX 78701-3218

DEFENDANT, IN THE HEREINAFTER STYLED AND NUMBERED CAUSE, YOU ARE HEREBY COMMANDED
TO APPEAR BEFORE THE 111TH DISTRICT COURT of Webb County, Texas, to be held at the
said courthouse of said county in the city of Laredo, Webb County, Texas, by
filing a written answer to the Petition of Plaintiff at, or before 10:00 0'CLOCK
A.M. of the Monday next after the expiration of 20 days after the date of service
thereof, a copy of which accompanies this citation, in the Cause #:
2019CVK000810D2, styled:
                                 JUAN MATA, PLAINTIFF
                                         VS.
                    AMERICAN SECURITY INSURANCE COMPANY, DEFENDANT
Said Plaintiff's Petition was filed on 04/30/2019 in said court by:
            J MICHAEL MOORE, ATTORNEY FOR PLAINTIFF
            4900 NORTH lOTH STREET STE F-3
            MCALLEN TX 78504
WITNESS ESTHER DEGOLLADO, DISTRICT CLERK OF WEBB COUNTY, TEXAS, issued and given
under my hand and seal of said court at office, on this the lst day o~f~•~a`~~~~~~~k!

                        C L E R K O F          C O U R T              ~^='
ESTHER DEGOLLADO, CLERK OF WEBB COUNTY, TEXAS
P.O. BOX 667
LAREDO, TX 78042                                                            F
                               B Y : ~ ~l3~_  ~i~v~      DE P            • ~'                        .
                                                                             °°'•••• ............,.,
                            CLERK' S CE IFICATE OF SERVICE            •~~,,® S~e~
      I, Clerk of the District Courts and County Court at Law of Webb County, Texas,
certify that I executed the foregoing citation in Webb County, Texas on this the lst
day of May, 2019 by placing in the United States mail a true copy of this citation,
with true copy of the aforesaid Pleading attached thereto, via Certified Mail
No.7018.0360.0002.0026.6685 ADDRESSED T0: American Security Insurance Company By
Serving Corporation Service Company 211 E 7th St Ste 620 Austin Tx 78701-3218 and
endorsed thereon "RETURN RECEIPT REQUESTED," after having first endorsed on said copy
of said citation the date of mailing and the name and address of the within-named
recipient, to certify which witness my hand officially on this the 1st day of May,
2019.

                                     ESTHER DEGOLLADO
                                     CLERK OF THE DISTRICT COURTS AND
                                           COUNTY COURT-AT-LAW
                                     OF WEBB COUNTY, TEXAS

ATTACH EVIDENCE OF MAILING
AND RETURN RECEIPT HERE.                     BY:
                                                   Dy/alna Cuellar
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                                            MONICA Z. NOTZON
                                       JUDGE, 111TH DISTRICT COURT
       ABEL SOLIZ                   1110 VICTORIA SUITE #301 3RD FLOOR                       FERNANDO RAMOS
CIVIL COURT COORDINATOR                     LAREDO, TEXAS 78040                                  BAILIFF
    (956)523-4226                              OFFICE (956)523-4230                             (956)523-4227
                                                FAX (956)523-5088


                                                                                          May 01, 2019
                          CALISE NO.: 2019CVK000810D2

                                STYLE: JLIAN MATA
                                                     VS
                                           AMERICAN SECLIRITY INSLIRANCE COMPANY

                            NOTICE OF CALENDAR CALL
    Please take notice that this case is set for Calendar Call on 07/ 16/2019

at 11:00 AM at the 111t' District Court, 3rd Floor, Webb County Justice Center.

   All Calendar Call hearings will be in open Court and on the record before the Honorable

Judge Monica Z. Notzon. Your presence is MANDATORY unless Counsel for Plaintiff(s) and

Defendant(s) have in place a pre-trial guideline order with both Counsel and Judge's signatures

prior to calendar call date. This guideline order should have all appropriate dates including

pre-trial, jury selection and all deadlines.

   Counsel for Plaintiff(s) please note that if you do not appear for calendar call your case may
be dismissed for lack of prosecution.

   Counsel for Defendant(s) please note that if you do not appear for calendar call, a pre-trial

guideline order may be entered with or without your approval and/or signature.

   If there are any questions regarding this matter please feel free to call our office at any time.




                                                                      Abel Soliz
                                                                      Civil Court Coordinator
                                                                      111 `h District Court
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                                                                                                                  Filed
                                                                                                   4/30/2019 4:28 PM
                                                                                                     Esther Degollado
                                                                                                         District Clerk
                                                                                                         Webb District
                                                                                                        Dyana Cuellar
                                    CAUSE NO.                                                     2019CVK00081 oD2


JUAN MATA                                       §                    IN THE DISTRICT COURT
    Plaintiff,                                  §
                                                §
VS.                                             §                      WEBB COUNTY, TEXAS
                                                §
AMERICAN SECURITY                               §
INSURANCE COMPANY                               §
    Defendant.                                  §                          JiJDICIAL DISTRICT


 PLAINTIFF'S ORIGINAL PETITION AND FIRST SET OF DISCOVERY REQUESTS


TO THE HONORABLE JUDGE AND JURY OF SAID COURT:

       COMES NOW, JUAN MATA (herein individually referred to "Plaintiff'), and files this

Plaintiff's Original Petition complaining of Defendant                AMERICAN SECURITY

INSURANCE COMPANY, (herein "Defendant Insurance Company" or "Defendant"), and for

cause of action shows the Court the following:

                               I. DISCOVERY CONTROL PLAN

       1.1       Plaintiff intends to conduct discovery pursuant to Rule 190.2 under Rule 169(d)

of the Texas Rules of Civil Procedure's Expedited Actions Process and affirmatively pleads that

this suit falls under the expedited-actions process of Texas Rule of Civil Procedure 169 because

claimant seeks only monetary relief aggregating less than $75,000, including damages of any

kind, penalties, court costs, expenses, prejudgment interest and attorney fees.

       1.2       Plaintiff has suffered losses and damages in a sum within the jurisdictional limits

of the Court and for which this lawsuit is brought. Plaintiffl s monetary request for relief is not to

exceed $74,999.99, including damages of any kind, penalties, court costs, expenses, prejudgment

interest and attorney fees. Tex. R. Civ. P. 47(c)(1).



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                                           II. PARTIES
        2.1    Plaintiff, Juan Mata, is an individual who resides in Webb County, Texas.

        2.2    Defendant AMERICAN SECURITY INSURANCE COMPANY ("Defendant

Insurance Company") is a foreign insurance company incorporated in the State of Delaware,

organized under the laws of the State of Delaware, and engaged in the business of insurance in

the State of Texas. Service of process is requested to be effectuated by certified mail on said

Defendant by delivering the Citation and a copy of the Original Petition to said Defendant

and/or Defendant's registered agent at:

        Corporation Service Company
        211 East 7th Street Suite 620
        Austin TX 78701 -3218

        The court's clerk is requested to issue the Citation and Original Petition by certified

mail.

                      III. JURISDICTION & RUI,E 47(c) STATEMENT

        3.1    This Court has jurisdiction over this cause of action because the amount in

controversy is within the jurisdictional limits of the Court. Plaintiff affirmatively states, pursuant

to Rule 47(c)(1) and Rule 47(d) Tex.R.Civ.Proc., that Plaintiff seeks monetary relief not to

exceed $100,000.00 and a demand for judgment for all other relief to which Plaintiff deems

Plaintiff is entitled to as demonstrated herein.

        3.2    This Court has jurisdiction over Defendant Insurance Company because this

Defendant is an insurance company which engages in the business of insurance in the State of

Texas, and Plaintiff's causes of action arise out of this Defendant's business activities in the

State of Texas.




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                                                IV. VENUE

            4.1     Venue is proper in Webb County, Texas, because the insured property, subject to

     this suit, is situated in Webb County, Texas. TEX.CIV.PRAC. & REM. CODE § 15.032.

                                                 V. FACTS

            5.1.    Plaintiff purchased a policy from Defendant Insurance Company, insuring

     Plaintiff s property against certain losses. The Policy number was MLR809579501 (hereinafter

     referred to as "the Policy")

            5.2     Plaintiff owns the insured property, which is located at 404 Soubirous Road

     Laredo, TX 78045 (hereinafter referred to as "the Property")

            5.3.    On or about May 21, 2017, a hail/wind storm passed through Webb County and

     caused extensive damage to the insured property (the "hail/wind storm event"). Shortly

     thereafter, Plaintiff made a claim and demand for payment on Defendant Insurance Company for

     damages to the Property and other damages covered by the terms of the Policy (the "Claim").

     The subject claim number is 00102196839.

            5.4     Subsequent to Plaintiff making the Claim, Defendant Insurance Company

     assigned a local Texas Adjuster, to adjust the claim ("The Adjuster"). The adjuster failed to

     adequately adjust Plaintiff s claim.

            5.5     After having the damages reevaluated by a qualified adjustor, Plaintiff sent

     Defendant a demand for payment of the claim. In response, Defendant Insurance Company has

     failed to tender adequate payment to which Plaintiff is entitled.

            5.6     Plaintiff requested that Defendant Insurance Company cover the cost of repairs to

     the Property pursuant to the Policy, including but not limited to, repair and/or replacement of the

     damaged structures and contents located on or around the exterior of the property as well as



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those within the interior, pursuant to the Policy.

       5.7     Defendant Insurance Company has wrongfully delayed and denied payment of the

balance due to Plaintiff for the Claim. Based upon information and belief, and as a basis for this

delay and denial, Defendant Insurance Company has relied upon an inadequate and under-scoped

adjustment which claims that the cost of repair for damages to Plaintiff's property were less than

the deductible and substantially less than the actual cost of repairs.

       5.8     Pleading in the alternative, Plaintiffls actual covered damage and losses to the

Property as a result of the hail/wind storm and other covered losses, including the costs of

temporary repairs and alternative living expenses, have caused other consequential damages to

be sustained by Plaintiff herein. Defendant Insurance Company is liable for these consequential

damages due to its failure to promptly and sufficiently pay the claim.

        5.9    Pleading in the alternative and based upon information and belief, the Adjustor

was compensated for each claim the Adjustor adjusted on behalf of Defendant Insurance

Company and/or other combination of compensation tied to the quantity of claims adjusted. As

part of this believed agreement, the Adjustor under-scoped the value of the damages to the

Property on behalf of Defendant Insurance Company. The Adjustor was therefore motivated to

conduct an inadequate and substandard claim investigation of Plaintiffls hail/wind storm damage

property claim in order to increase the number of claims the Adjustor adjusted for his personal

pecuniary benefit, as indicated below in sub-paragraphs (a) thru (g). The Adjustor was negligent

in violating Defendant Insurance Company's written policies as they relate to claims handling

practices by failing to fully investigate and document all damage to the Property and by failing to

fully investigate and evaluate the Plaintiffls insured losses based upon local replacement and/or

repair costs for each item of damage, as indicated below in sub-paragraphs (a) thru (g).



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Additionally, based upon information and belief and the acts and the practices the Adjustor

actually employed, the Adjustor held a personal bias in favor of Defendant Insurance Company

and prejudicially against insurance claimants generally, and more specifically towards Plaintiff

herein as specifically demonstrated below in sub-paragraphs (a) thru (b). The Adjustor, on

behalf of Defendant Insurance Company, intentionally, knowingly and fraudulently, with malice,

engaged in the following specified acts and practices, among others stated herein, in violation of

and in breach of the adjuster's moral, ethical and legal duties to Plaintiff as a licensed claims

adjuster, which was a producing and proximate cause of the damages and losses sustained herein

by Plaintiff resulting in the denial and/or underpayment of Plaintiff s claim; to wit:

          a)   The.Adjustor failed to properly investigate and inspect the Property during repair

of the property which would have revealed other covered hail/wind storm damage property

losses;

          b)   The Adjustor failed to and/or refused to properly interview Plaintiff to ascertain

other damages that were not readily apparent or would not be readily apparent to an individual

unfamiliar with the property's pre-loss condition;

          c)   The Adjustor refused to and did not inspect for hidden or latent damage resulting

to Plaintiff's Property that is customarily found to exist in Property that has undergone hail/wind

storm damage of the severity that Plaintiff s Property sustained;

          d)   The Adjustor failed and refused to include the usual and customary charges for

costs of materials, supplies, labor and contractor's overhead and profit charged by local

contractors for the repair, replacement and restoration of the Plaintiff's Property due to the

hail/wind storm damage;

          e)   The Adjustor performed only a cursory inspection of the exterior and interior of



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the insured Property, spending insufficient time at the Property to properly assess all items of

damage; and failed to properly assess, estimate and include covered damage to the property in

the report and adjustment of loss to Defendant Insurance Company for the hail/wind storm

damages and/or note other damages existing to the Property at the time of inspection such as

plumbing, appliances, ceilings and walls that sustained damage as a result of the haiUwind storm

event;

         f)    Pleading in the alternative, the Adjustor, during the investigation of the Plaintiff s

claim, made coverage decisions, which the Adjustor was not qualified and/or authorized to

perform, by failing to include all damages sustained to the Property, thus submitting an

inaccurate and false report of Plaintiff s covered haiUwind storm claim and its losses to

Defendant Insurance Company;

         g)    Defendant Insurance Company fraudulently represented to Plaintiff verbally and

by conduct, insisted that the majority of the damages to the Property were not related to the

hail/wind storm event made basis of this suit; and that most, if not all, of the covered damages

found to exist upon observation of Plaintiff property, were not covered by the Policy, but were

due to normal wear and tear or the result of other causes, when in fact such damage was related

and should have been included in the Adjustor`s reports to Defendant Insurance Company. Based

upon information and belief, Defendant Insurance Company's acts and omissions as they pertain

to the mishandling of Plaintiff's claim were largely dependent and proximately caused by its

reliance on the report/adjustment produced by the Adjustor, whom it knew, or reasonably should

have known, was biased and hence, under-scoped the damages.

         5.10 Based upon information and belief, Defendant Insurance Company failed to

thoroughly review the fraudulent and inaccurate assessment of the Claim as produced by the



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Adjustor and ultimately approved the Adjustor's inaccurate reports of the damages to the

Property.

       5.11 The mishandling of Plaintiffls claim has also caused a delay and hardship in the

ability to fully repair the Property, which has resulted in additional damages in terms of the loss

of use of the PlaintifP's Property and mental anguish as a result thereof. To date, Plaintiff has yet

to receive the full payment to which Plaintiff is entitled under the Policy.

       5.12 In the alternative, without waiving the foregoing, and based upon information and

belief, Defendant Insurance Company instructed the Adjustor to follow their claims processing

guidelines of in connection with the claims handling process for Plaintiffls claim. Defendant

Insurance Company was responsible for training, overseeing, and supervising its claim

representatives and adjusters handling claims like Plaintiff's claim. Defendant Insurance

Company was responsible for — and had a legal duty — to hire and retain competent, qualified and

ethical licensed adjusters and claims representatives who would deal fairly, honestly and in good

faith with its policy holders in the practice of insurance claims handling. Defendant Insurance

Company breached such duties in connection with the Claim by failing to properly train, direct

and oversee the claims handling practices employed by the Adjustor.

       5.13 At all times material herein, Defendant Insurance Company had a non-delegable

contractual legal duty to timely, fairly and in good faith investigate, process, adjust, timely pay,

and re-adjust claims for all covered losses sustained by its policy holders — specifically Plaintiff.

Defendant Insurance Company represented that it would do so in advertising mediums

throughout the State of Texas and specifically in writing to its policy holders as an inducement

for them to purchase and continue to renew homeowners and property insurance policies. Due to

a lack of knowledge and understanding of the insurance claims handling process, knowledge of



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construction costs and insurance policy coverage issues relating to property losses, Plaintiff

relied on such misrepresentations to Plaintiff s detriment, and hence (1.) purchased the Policy

from Defendant Insurance Company, and (2.) accepted the estimate of damages from Defendant

Adjustor which, unknown to Plaintiff, included denial and underpayment of covered losses and

damages sustained. Defendant Insurance Company made such representations knowing they

were false and with the intent that Plaintiff rely on such representations.

       5.14 Based upon information and belief, Defendant Insurance Company, having

breached its legal duty to timely, fairly and in good faith investigate, process, adjust and pay for

all covered losses sustained by Plaintiff herein by assigning the Adjustor to adjust and handle

Plaintiffls claim, is responsible for the acts of omission and commission set forth herein and

above in connection with the Adjustor's investigation and claims handling practices employed to

deny and/or underpay the covered losses and damages sustained by Plaintiff as set forth herein.

       5.15 Based upon information and belief, Defendant Insurance Company distributed

training, educational, and instructional materials to its field claim representatives and adjusters

such as the Adjustor and held meetings and. issued directives to the field instructing how

Defendant Insurance Company wanted claims like Plaintiff's to be handled. Defendant Insurance

Company, through directives to its adjusters like the Adjustor, tasked those adjusters assigned to

Plaintiff s claim with handling such losses in line with Defendant Insurance Company's policy

and procedures. Defendant Insurance Company communicated and disseminated claims handling

practices and methodologies to its field adjusters such as Defendant Adjustor of 1) "Quantity

over Quality", 2) Minimization of damage estimates, 3) Under-valuation of reported replacement

and/or repair estimates, and 4) Omission of probable covered damages in reports of losses to the

Property. These policies served to fuel and motivate the Adjustor's individual pre-disposition of



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bias in favor of insurance companies and prejudice towards claimants and the resulting losses

sustained by Plaintiff as set forth herein.

        5.16 On or about May 29, 2017, Defendant Insurance Company conducted an

inspection at the property. Later, on or about August 24, 2017, Defendant Insurance Company

sent Plaintiff a claim outcome letter and adjustment. Said letter stated that the damage found to

the property did not exceed the policy deductible of $3,096.00 and subsequently refused

payment. Defendant Insurance Company's decision to refuse liability relied upon an inadequate

and under-scoped adjustment which resulted in a denial of payment. Defendant Insurance

Company failed to perform its contractual duties to adequately compensate Plaintiff under the

terms of the Policy, instead Defendant Insurance Company under-adjusted Plaintiff's claim.

Plaintiff subsequently retained the services of the undersigned counsel who attempted to

effectuate an expedient settlement by sending the requisite statutory notice. Plaintiff's

undersigned counsel attempted in good faith to negotiate a settlement with Defendant Insurance

Company on multiple occasions to no avail. As such, Plaintiff's is compelled to file suit and

asserts that all conditions precedent to recovery have been satisfied by Plaintiff. Defendant

Insurance Company failed to perform its contractual duties to adequately compensate Plaintiff

under the terms of the Policy. Defendant Insurance Company's conduct constitutes a breach of

the insurance contract between Defendant Insurance Company and Plaintiff.

        5.17 From and after the time Plaintiffls claim was presented to Defendant Insurance

Company, the liability of Defendant Insurance Company to pay the full claim in accordance with

the terms of the Policy was reasonably clear. However, Defendant Insurance Company has

refused to pay Plaintiff in full, despite there being no basis whatsoever on which a reasonable

insurance company would have relied to deny the full payment. Defendant Insurance



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Company's conduct constitutes a breach of the common law duty of good faith and fair dealing.

       5.18 Pleading in the alternative, Defendant knowingly or recklessly made false

representations, as described above, as to material facts and/or knowingly concealed all or part of

material information from Plaintiff.

       5.19 As a result of Defendant's wrongful acts and omissions, Plaintiff was forced to

retain the professional services of the attorneys who are representing Plaintiff with respect to

these causes of action.

       5.20 Based upon information and belief, Plaintiff's experience is not an isolated case.

The acts and omissions of Defendant Insurance Company committed in this case, or similar acts

and omissions, occur with such frequency that they constitute a general business practice of

Defendant Insurance Company with regard to the handling of these types of claims. Defendant

Insurance Company's entire process is unfairly designed to reach favorable outcomes for the

company at the expense of the policyholders.

     VI. CAUSE OF ACTION AGAINST DEFENDANT INSURANCE COMPANY —

              NONCOMPLIANCE WITH THE TEXAS INSURANCE CODE

       6.1     Plaintiff repleads all of the material allegations above set forth in Paragraphs 1.1-

5.20 and incorporate the same herein by this reference as if here set forth in full.

       6.2     Defendant misrepresented to Plaintiff that the damage to the Property was not

covered under the Policy, even though the damage was caused by a covered occurrence.

Defendant's conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement

Practices. TEX. INS. CODE §§541.060(a)(1).

       6.3     Defendant failed to make an attempt to settle Plaintiffls claim in a fair manner,

although it was aware of its liability to Plaintiff under the Policy. Defendant's conduct



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constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS.

CODE §541.060(a)(2)(A).

       6.4     Defendant failed to explain to Plaintiff the reasons for an inadequate settlement.

Furthermore, Defendant did not communicate that any future settlements of payments would be

forthcoming to pay for the entire losses covered under the Policy, nor did it provide any

explanation for the failure to adequately settle Plaintiffls claim. Defendant's conduct is a

violation of the Texas Insurance Code, Unfair Settlement Practices, TEX. INS. CODE

§541.060(a)(3).

       6.5     Defendant failed to affirm or deny coverage of Plaintiffls claim within a

reasonable time. Specifically, Plaintiff did not receive timely indication of acceptance or

rejection, regarding the full and entire claim, in writing from Defendant. Defendant's conduct

constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS.

CODE §541.060(a)(4).

       6.6     Defendant Insurance Company refused to fully compensate Plaintiff, under the

terms of the Policy, even though Defendant failed to conduct a reasonable investigation.

Defendant's conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement

Practices. TEX. INS. CODE §541.060(a)(7).

       6.7     Defendant Insurance Company failed to meet its obligations under the Texas

Insurance Code regarding timely acknowledging Plaintiff's claim, beginning an investigation of

PlaintifP's claim, and requesting all information reasonably necessary to investigate Plaintiff's

claim, within the statutorily mandated time of receiving notice of Plaintiff s claim. Defendant's

conduct constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims. TEX.

INS. CODE §542.055.


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       6.8     Defendant Insurance Company failed to accept or deny Plaintiff s full and entire

claim within the statutorily mandated time of receiving all necessary information. Defendant's

conduct constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims. TEX.

INS. CODE §542.056.

       6.9     Defendant Insurance Company failed to meet its obligations under the Texas

Insurance Code regarding payment of claim without delay. Specifically, it has delayed full

payment of Plaintiff's claim longer than allowed and, to date Plaintiff has not received full

payment for the claim. Defendant's conduct constitutes a violation of the Texas Insurance Code,

Prompt Payment of Claims. TEX. INS. CODE §542.058.

VII. CAUSE OF ACTION AGAINST DEFENDANT INSURANCE COIVIPANY — FRAUD

       7.1     Plaintiff repleads all of the material allegations above set forth in Paragraphs 1.1-

6.9 and incorporate the same herein by this reference as if here set forth in full.

       7.2     Defendant is liable to Plaintiff for common law fraud.

       7.3     Defendant Insurance Company represented in its policy that damages resulting

from a hail/wind storm would be insured against loss. Plaintiff, to its detriment, purchased

Defendant Insurance Company's policy in exchange for a benefit Defendant Insurance Company

knew the Plaintiff would not receive. Plaintiff further relied to its detriment upon the false,

fraudulent, and deceptive acts and practices employed by Defendant, in performing an

inspection, investigation and evaluation of Plaintiffls claim. Plaintiff was not lcnowledgeable in

the manner and scope required to investigate such a loss, nor knowledgeable in insurance loss

coverage issues and were not aware of the deceptive, fraudulent practices which required that

they hire an independent adjustor a$er the delays and failure to provide the promises adjusting

services were discovered. Defendant, based upon its experience, special knowledge of hail/wind



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storm structural loss issues and insurance coverage issues were able to deceive Plaintiff into

believing that the property damage loss would be competently investigated by a qualified, ethical

and experienced adjustor and that the loss would be properly, fairly and in good faith evaluated

and assessed and the claim paid.

       7.4     Plaintiff was unaware that all such representations and conduct relating to the

investigation and handling of the claim were performed with the intent and purpose to defraud,

take advantage of and deny and/or undervalue the property losses sustained by Plaintiff. Plaintiff

was unaware that all such representations and conduct relating to the investigation and handling

of the claim were performed with the intent and purpose to defraud, take advantage of and deny

and/or undervalue the property losses sustained by Plaintiff. Plaintiff relied to its detriment on

such actions and representations resulting in the losses and damages complained of herein.

Plaintiff sought representation of the undersigned counsel in an attempt to expedite the resolution

of this claim dispute without unnecessary litigation. However, Defendant Insurance Company

has recalcitrantly failed to pay funds which are owed on this claim in which Defendant's liability

to pay is clear. This undue expense and delay was solely incurred due to the acts of Defendant in

failing to perform the duties what it was required to perform Texas Insurance Code and the

contract of insurance

       7.5     The conduct of Defendant has prolonged Plaintiff's hardship of restoring the

damaged home and increased the expense of relocation and alternative living arrangements.

Defendant knew at the time the misrepresentations and fraudulent conduct.occurred (as described

above) that the representations contained in the estimate of loss were untrue and communicated

those representations to Plaintiff which were false. Each and every one of the representations

and deceptive acts and practices, as described above, and those stated in this paragraph,



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concerned representations and falsehoods relating to material facts for the reason that absent

such representations, Plaintiff would not have acted as Plaintiff did, and which Defendant knew

were false or made recklessly without any knowledge of their truth as a positive assertion.

       7.6     Defendant made statements and performed actions with the intention to

manipulate Plaintiff to act as Plaintiff did, thereby causing Plaintiff to suffer injury and

constituting common law fraud.

    VIII. CAUSE OF ACTION AGAINST DEFENDANT INSURANCE COMPANY —

                             CONSPIRACY TO COMMIT FRAUD

       8.1     Plaintiff repleads all of the material allegations above set forth in Paragraphs 1.1-

7.6 and incorporate the same herein by this reference as if here set forth in full.

       8.2     Defendant is liable to Plaintiff for conspiracy to commit fraud. Defendant,

through its relationships with adjusters, and/or third party claims adjusting firms, was a member

of a combination of two or more persons whose object was to accorriplish an unlawful purpose or

a lawful purpose by unlawful means. In reaching a meeting of the minds regarding the course of

action to be taken against Plaintiff, Defendant comrnitted an unlawful, overt act to further the

object or course of action. Plaintiff suffered injury as a proximate result. Plaintiff does not seek

damages from conspirators other than Defendant Insurance Company, but reserves the right to

amend this pleading.

     IX. CAUSES OF ACTION AGAINST DEFENDANT INSURANCE COMPANY —

       BREACH OF CONTRACT/DUTY OF GOOD FAITH AND FAIR DEALING

        9.1    Plaintiff replead all of the material allegations above set forth in Paragraphs 1.1-

8.2 and incorporate the same herein by this reference as if here set forth in full.

        9.2    Defendant Insurance Company is liable to Plaintiff for intentional breach of



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contract, and intentional breach of the common law duty of good faith and fair dealing.

       9.3     Defendant Insurance Company's conduct constitutes a breach of the insurance

contract made between Defendant Insurance Company and Plaintiff.

       9.4     Defendant Insurance Company's failure and/or refusal, as described above, to pay

the adequate and just compensation as it is obligated to do under the terms of the Policy in

question, and under the laws of the State of Texas, constitutes a breach of Defendant Insurance

Company's insurance contract with Plaintiff.

       9.5     Defendant Insurance Company's failure, as described above, to adequately and

reasonably investigate and evaluate Plaintiff s claim, although, at that time, Defendant Insurance

Company knew or should have known by the exercise of reasonable diligence that its liability

was reasonably clear, constitutes a breach of the duty of good faith and fair dealing.

     X. CAUSES OF ACTION AGAINST DEFENDANT INSURANCE COMPANY —

     RESPONSIBILITY FOR ACTS OF AGENTS AND RATIFICATION OF ACTS

       10.1 The Adjustor, whose conduct is referenced herein and above, was acting as an

agent of Defendant Insurance Company at all material times made the basis of Plaintiff s Clairris

and such acts of commission and omission in the handling of Plaintiff's claim, including

inspections, adjustments, and aiding in the adjustment of the loss were committed for or on

behalf of Defendant Insurance Company, the insurer. TEX.INS.CODE §4001.051.

       10.2 Separately, and/or in the alternative, as referenced and described above,

Defendant Insurance Company ratified the actions and conduct of Defendant Adjustor including

the manner in which they discharged or failed to properly discharge their duties under the

common law and applicable statutory laws and regulations.

                                       XI. KNOWLEDGE


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        11.1 Each of the acts described above, together and singularly, was done "knowingly,"

as that term is used in the Texas Insurance Code, and was a producing cause of Plaintiff's

damages described herein.

                                         XII. DAMAGES

        12.1 Plaintiff would show that all of the aforementioned acts, taken together or

singularly, constitute the producing causes of the damages sustained by Plaintiff.

        12.2 As previously stated, the damages caused by the hail/wind storm event were not

fully paid by Defendant Insurance Company and have not been properly addressed in the time

since the covered loss event, causing further damages to Plaintiff financially in terms of paying

for covered losses when such obligation was that of Defendant Insurance Company, which has

caused undue hardship and burden to Plaintiff. These damages are a direct result of Defendant's

mishandling of Plaintiff's claim in violation of the laws set forth above.

        12.3 For breach of contract, Plaintiff is entitled to regain the benefit of Plaintiffls

bargain, which is the amount of Plaintiff s claim losses and expenses, together with attorney's

fees.

        12.4 For noncompliance with the Texas Insurance Code, Unfair Settlement Practices,

Plaintiff is entitled to actual damages, which include the loss of the benefits that should have

been paid pursuant to the policy, mental anguish, court costs, and attorney's fees. For knowing .

conduct of the acts described above, Plaintiff asks for three times Plaintiff s actual damages.

TEX. INS. CODE §541.152.

        12.5 For noncompliance with the Texas Insurance Code, Prompt Payment of Claims,

Plaintiff is entitled to the amount of Plaintiffs claim, as well as ten percent (10%) interest per

annum on the amount of such claim as damages, together with attorney's fees. TEX. INS. CODE



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§542.060.

        12.6 For breach of the common law duty of good faith and fair dealing, Plaintiff is

entitled to compensatory damages, including all forms of loss resulting from Defendant

Insurance Company's breach of duty, such as additional costs, economic hardship, losses due to

nonpayment of the amount the insurer owed, exemplary damages, and damages for emotional

distress.

        12.7 For fraud, Plaintiff is entitled to recover actual damages and exemplary damages

for lcnowingly fraudulent and malicious representations, along with attorney's fees, interest, and

court costs.

        12.8 For the prosecution and collection of this claim, Plaintiff has been compelled to

engage the services of the attorney whose name is subscribed to this pleading. Therefore,

Plaintiff is entitled to recover a sum for the reasonable and necessary services of Plaintiff's

attorney in the preparation and trial of this action, including any appeals to the Court of Appeals

and/or the Supreme Court of Texas.

                             XIII. RESERVATION OF RIGHTS

        13.1 Plaintiff reserves the right to prove the amount of damages at trial. Plaintiff

reserves the right to amend this petition to add additional counts upon further discovery as the

investigation continues.

                              XIV. CONDITIONS PRECEDENT

        14.1 Pursuant to Rule 54 of the Texas Rules of Civil Procedure, all conditions

precedent to Plaintiff's right to recover herein have been performed or have occurred.

                                     XV. JURY DEMAND

        15.1 Plaintiff hereby requests that all causes of action alleged herein be tried before a



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jury consisting of citizens residing in County, Texas. Plaintiff hereby tenders the appropriate

jury fee.

                 XVI. REOUESTS FOR DISCLOSURE TO DEFENDANT

        16.1 Pursuant to Texas Rule of Civil Procedure 194, Plaintiff requests that Defendant

Insurance Company and Defendant Adjustor disclose within fifty days (50) of service of this

request, the information or materials described in Rule 194.2 of the Texas Rules of Civil

Procedure.

              XVII. PLAINTIFF'S FIRST SET OF WRITTEN DISCOVERY

                 INSTRUCTIONS FOR REOUESTS FOR PRODUCTION

        17.1 Pursuant to the provisions of Rule 196 of the Texas Rules of Civil Procedure, you

are hereby requested to produce the below designated "documents" which shall include, but are

not limited to, papers, books, accounts, writings, drawings, graphs, charts, photographs, emails,

electronic data, meta data or any other form of recordings and other data compilations from

which information can be obtained, translated, or reproduced, if necessary by you, your agents or

attorneys, through appropriate devices into reasonably usable form, and to produce the below

designated tangible things which constitute or contain matters which are in the possession,

custody or control of you, your agents, servants or attorneys, for inspection, sampling, testing,

photographing and/or copying on the first business day after the expiration of fifty (50) days

after service of these Requests for Production, at 4900 North lOth Street, Suite F3, McAllen,

Texas 78504 pursuant to Rule 196.2(a) Tex.R.Civ.Proc. You are advised that pursuant to Rule

196, you must make a written response that shall state with respect to each item or category of

items that inspection will be permitted as requested and that you will comply with this Request,




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except to the extent that objections are made, stating specific reasons why such discovery will

not be allowed.

                           INSTRUCTIONS AND DEFINITIONS

        17.2 In answering the following interrogatories and responding to the following

Requests for Production, furnish all information and items available to you, including

information or items in the possession of your attorneys, or their investigators, and all

persons acting in your behalf and not merely such information known of your own personal

knowledge. If you cannot answer an Interrogatory or respond to a Request for production in

full after exercising due diligence to secure the information or item requested, so state in

your answer or response and to the extent possible answer or respond stating whatever

information or knowledge you have.

       17.3 The INTERROGATORIES and REQUESTS FOR PRODUCTION OF

DOCUMENTS which follow are to be considered as continuing, and you are requested to

provide by way of supplemental answers and responses hereto such additional information as

you or any other person acting on your behalf may hereafter obtain which will augment or

otherwise modify your answers given to these Interrogatories and Requests for Production of

Documents below. Such supplemental responses are to be filed and served upon this party

immediately upon receipt of such information.

As used herein, the following terms shall have the meaning indicated below:

a.     ..Person(s)" means natural persons, corporation, partnerships, sole proprietorships,

       unions, associations, federations, reciprocal or inter-insurance exchange, Lloyd's

       plan, adjustor, contractor/estimator, engineer, independent contractor or any other

       kind of entity.


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       .1
b.          Document" means any printed, typewritten, hand written, electronically stored

       information in its native format, mechanically or otherwise recorded matter of

       whatever character, including but without limitation, letters, purchase orders,

       memoranda, telegrams, notes, catalogues, brochures, diaries, reports, calendars, inter-

       or intra- office communications, depositions, answers to interrogatories, pleadings,

       judgments, newspaper articles, photographs, tape recordings, motion pictures and any

       carbon or photographic copies of any such material if you do not have custody or

       control of the original.

                 Electronically stored information. The term "electronically stored information"

                  means electronic information that is stored in a medium from which it can be

                  retrieved and examined. It includes, but is not limited to, all electronic files that

                  are electronically stored.

                  (1)    "Electronic file" includes, but is not limited to, the following: voicemail

                         messages and files; e-mail messages and files; deleted files; temporary

                         files; system-history files; Internet- or web-browser-generated information

                         stored in textual, graphical, or audio format, including history files,

                         caches, and cookies; computer-activity logs; metadata. Unless otherwise

                         defined, each example used to illustrate the term "electronic file" will have

                         the meaning assigned to it by Microsoft Computer Dictionary (5th ed.

                         2002).

                  (2)    "Electronic information system" refers to a computer system or network

                         that contains electronic files and electronic storage. Unless otherwise

                         defined, each example used to illustrate the term "electronic information



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                         system" will have the meaning assigned to it by Microsoft Computer

                         Dictionary (5th ed. 2002).

                (3)      "Electronic storage" refers to electronic files contained on magnetic,

                         optical, or other storage media, such as hard drives, flash drives, DVDs,

                         CDs, tapes, cartridges, floppy diskettes, smart cards, integrated-circuit

                         cards (e.g., SIM cards). Unless otherwise defined, each example used to

                         illustrate the term "electronic storage" will have the meaning assigned to it

                         by Microsoft Computer Dictionary (5th ed. 2002).

C.     "You" and "Your" shall mean the party to whom these questions are directed, as well

       as agents, employees, attorneys, investigators and all other "persons" acting for said

       party.

d.     "Handle", "handled", "handling" and/or "worked on" — any person as defined above,

       that made a decision, investigated, adjusted, consulted, supervised, managed, settled,

       approved, provided information or otherwise performed a task relating to the claims

       mad the basis of this lawsuit, excluding persons performing purely ministerial or

       clerical tasks.

e.     "Policy" refers to the policy of insurance in effect on the date that the loss made the

       basis of this suit occurred.

f.     "Property" refers to the residence, dwelling, other structures, and personal property

       covered by the Policy, as defined above, made the basis of this suit.

g.     "Claim" or "Claim made the basis of this Suit" shall mean the claim filed by Plaintiff

       under Policy No. MLR809579501 for structural damage incurred as a result of a




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        hail/wind storm damages throughout the insured premises located at 404 Soubirous

        Road Laredo, La 78045, on or about May 21, 2017.

h.      "Describe" and/or "Identify", when referring to a document, is defined to require that

        you state the following:

               1. The nature (e.g., letter, handwritten note) of the document;

               2. The title or heading that appears on the document;

               3. The date of the document and the date of each addendum, supplement, or

                   other addition or change;

               4. The identity of the author and of the signer of the document, and of the

                   person on whose behalf or at whose request or direction the document was

                   prepared or delivered; and,

               5. The present location of the document, and the name, address, position, or

                   title, and telephone number of the person or persons having custody of the

                   document.

        If you object to identifying any person as hereinabove defined, or producing any

item requested, or you feel that a court order should be obtained by this party, please so state

in your answer to the interrogatory or response to a request for production.

     ADDITIONAL INSTRUCTIONS REGARDING REOUEST FOR PRODUCTION OF

                      ELECTRONICALLY STORED INFORMATION

1.      Any documents that exist in electronic form are specifically requested to be produced in

        native or near-native formats, pursuant to Rule 196.4 of the Texas Rules of Civil

        Procedure and should not be converted to an imaged format (e.g. .PDF) unless such




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           document must be redacted to remove privileged content or the document does not exist

           in a native electronic format, in which case a privilege log is requested.

    2.     Native format requires production in the same format in which the information was

           customarily created, used and stored by you. Examples of the native or near-native forms

           in which specific types of electronically stored information (ESI) should be produced are

           as follows for each ESI Source:

           a)     Microsoft Word documents - .DOC, .DOCX.

           b)     Microsoft Excel Spreadsheets - .XLS, .XLSX.

           c)     Microsoft PowerPoint Presentations - .PPT, .PPTX.

           d)     Microsoft Access Databases - .MDB.

           e)      WordPerfect documents - .WPD.

           f)     Adobe Acrobat Documents - .PDF.

           g)     Photographs - .JPG.

           h)     E-mail Messages - should be produced so as to preserve and supply the source

                  RFC 2822 content of the communication and attachments in a fielded,

                  electronically-searchable format. For Microsoft Exchange or Outlook messaging,

                  .PST format will suffice. Single message production formats like .MSG or .EML

                  may be furnished, if source foldering data is preserved and produced. If your

                  workflow requires that attachments be extracted and produced separately from

                  transmitting messages, attachments should be produced in their native forms with

                   parent/child relationships to the message and container(s) preserved and

                   produced.




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t   ;
        .




                           i)     Databases (excluding e-mail systems) - Unless the entire contents of a

                           database are responsive, extract responsive content to a fielded and electronically

                           searchable format preserving keys and field relationships. If doing so is

                           infeasible, please identify the database and supply information concerning the

                           schemae and query language of the database, along with a detailed description of

                           its export capabilities, so as to facilitate Plaintiff crafting a query to extract and

                           export responsive data.

                   3.      Examples of responsive forms of items set out in these instructions or in any

                           request should not be construed to limit the scope of the request(s).

                   4.      Documents that do not exist in a native electronic format or which require

                           redaction of privileged content are hereby requested to be produced in searchable

                           .PDF format with logical unitization preserved.

                   5.      Production should be made using a flash/thumb drive or a portable external hard

                           drive. If flash/thumb drives or portable external hard drive are not available to

                           Defendant, Plaintiff will provide to Defendant upon request.

                   6.      Documents produced should be Bates numbered by naming the file produced to

                           conform to the Bates number assigned to that file, supplying the original file name

                           data in the delimited load file described below. PDF production of documents

                           that do not exist in a native electronic format may be Bates numbered on each

                           page in a manner that does not obscure content by embossing the Bates number of

                           the file followed by a dash and the page number. Respond to each request for

                           documents by listing the Bates numbers of responsive documents produced




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       Production should include a delimited load file supplying relevant system metadata field

       values for each document by Bates number. The field values supplied should include (as

       applicable):

               a. Source file name;

               b. Source file path;

               c. Last modified date;

               d. Last modified time;

               e. Custodian or source;

               f. Document type;

               g. MD5 hash value;

               h. Redacted flag; and,

               i. Hash de-duplicated instances (by full path).

       Documents should be vertically de-duplicated by custodian using each document's hash

       value. Near-deduplication should not be employed so as to suppress different versions of

       a document, notations, comments, tracked changes or application metadata.

 REOUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT INSURANCE
                           COIVIPANY

       The following insurance documents issued for the Property as identified in the Petition:
          a. the policy at issue for the date of loss as identified in the Petition

       RESPONSE:

2.     Produce underwriting files and documents relating to the underwriting for all insurance
       policies for the Property identified in the Petition. This request includes, but is not limited
       to all documents relating to any real property insurance claims made by Plaintiff. This
       request is limited to the past 5 years. To the extent Defendant contends that the
       underwriting file or documents older than 5 years impact the damages or coverage,
       produce that underwriting file or document.

       RESPONSE:

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       All documents relating to the condition or damages of the Property or any insurance
       claim on the Property identified in the Petition.

       RESPONSE:

4.     Produce a copy of all price lists used to prepare any estimates for the claim made the
       basis of this Lawsuit. To the extent the pricelist is an unmodified pricelist from a third
       party, you can reference the vendor and version of the pricelist with a stipulation that it is
       unmodified. To the extent Defendant created or altered any prices used in the preparation
       of an estimate in the claim made the basis of this Lawsuit, produce all documents related
       to the creation or alteration of the price, including the original price for that item and the
       factual bases for the creation or alteration.

       RESPONSE:

       All documents reflecting the pre-anticipation of litigation reserve(s) set on the claim
       made the basis of this Lawsuit, including any changes to the reserve(s) along with any
       supporting documentation.

       RESPONSE:

       All organizational charts, diagrams, lists, an/or documents reflecting each department,
       division or section of Defendant's company to which the claim made the basis of this
       Lawsuit was assigned.

       RESPONSE:

7.     All documents used to instruct, advise, guide, inform, educate, or assist provided to any
       person handling the claim made the basis of this Lawsuit that related to the adjustment of
       this type of claim, i.e., hail/wind storm property damage.

       RESPONSE:

8.     All contracts in effect at the time of Plaintiff's claim between Defendant and any
       person(s) and/or entity(ies) who handled the claim made the basis of the Lawsuit.

       RESPONSE:

9.     Produce all documents showing amounts billed and paid to any engineer and/or
       engineering firm, third-party claims service, and/or independent adjuster who participated
       in the evaluation, assessment, and/or adjustment of the claim made subject of this suit. A
       summary is acceptable in lieu of actual invoices or payments.

       RESPONSE:


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10.    A complete copy the personnel file related to performance (excluding medical and
       retirement information) for all people and their managers and/or supervisors who directly
       handled the claim made the basis of this Lawsuit, including all documents relating to
       applications for employment, former and current resumes, last known address, job title,
       job descriptions, reviews, evaluations, and all drafts or versions of requested documents.
       As part of said personnel files, this request includes documents relating to issues of
       honesty, criminal actions, past criminal record, criminal conduct, fraud investigation
       and/or inappropriate behavior which resulted in disciplinary action by Defendant of any
       person(s) or entity(ies) who handled the claim made the basis of this Lawsuit. This
       request is limited to the past 5 years.

       RESPONSE:

11.    All documents relating to work performance, claims patterns, claims problems,
       commendations, claims trends, claims recognitions, and/or concerns for any person who
       handled the claim made the basis of this Lawsuit, as well as all reports that include this
       claim specifically and the manner by which it was evaluated from the date of the
       hail/wind storm to the present.

       RESPONSE:

12.    Any email or document that transmits, discusses, or analyzes any report produced in
       response to Request for Production No. 11 above.

       RESPONSE:

13.    All confidentiality agreements and/or instructions regarding confidentiality in effect at
       the time of Plaintiff's claim between Defendant and any person(s) and/or entity(ies) who
       the claim made the basis of the Lawsuit.

       RESPONSE:

14.    All documents between Defendant and any person(s) and/or entity(ies) who handled the
       claim made the basis of the Lawsuit regarding document retention policy in effect at the
       time of Plaintiffls claim.

       RESPONSE:

15.    Pursuant to Texas Rule of Evidence 609(f), provide all documents evidencing conviction
       of a crime which you intend to use as evidence to impeach any party or witness.

       RESPONSE:

      WRITTEN INTERROGATORIES TO DEFENDANT INSURANCE COMPANY




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1.     Identify all persons, address, including job title, dates of employment, and a description
       of each individual's role in the claim made the basis of this Lawsuit, if any, for all
       persons all persons and/or entities who handled the claim made the basis of the Lawsuit
       on behalf of Defendant, including those providing information for the answers to these
       interrogatories.

       ANSWER:

2.     State the following concerning notice of claim and timing of payment:
           a. The date and manner in which Defendant received notice of the claim;
                    i. If Defendant contends that Plaintiff failed to provide proper notice of the
                        claim made the basis of this suit under the Texas Insurance Code, describe
                        how the notice was deficient, identifying any resulting prejudice caused to
                        Defendant.
           b. The date and manner in which Defendant acknowledged receipt of the claim;
           c. The date and manner in which Defendant commenced investigation of the claim;
           d. The date and manner in which Defendant requested from the Plaintiff all items,
               statements, and forms reasonably necessary that Defendant reasonably believed,
               at the time, would be required from the Plaintiff;
           e. The date and manner in which Defendant notified the claimant(s) in writing of the
               acceptance or rejection of the claim.
           f. To the extent Defendant felt it was applicable to this claim, did Defendant request
               an additional 45 days to accept or reject the claim, and if so, for what reason and
               state the date and manner in which Defendant made that request.
           g. The date and manner in which you notified Plaintiff of acceptance or rejection of
               coverage for all or any portion of Plaintiffs claim; and
           h. The date and manner of all payments made to insured, identifying whether
               payment was made under structure, additional structure, contents and/or ALE
               provisions.
           i.  The  date(s) on while Defendant closed Plaintiff's claim, if applicable.

       ANSWER:

       Identify each inspection of the Property made the basis of this Lawsuit by:
          a. The name and job title of each person who inspected the Property;
           b. The date of each inspection;
          c. The purpose of each inspection; and
          d. Any documents generated during or as a result of each inspection, including the
               persons and/or entities in possession of those documents.
           e. In the event that Defendant contends that Plaintiff ailed to exhibit/provide access
               to the Property as reasonably requested by Defendant, and, if so, describe how
               Plaintiff failed to do so, identifying any resulting prejudice caused to Defendant.

       ANSWER:




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4.     If Defendant is aware of documents that are not in Defendant's possession that are related
       to the Claim and were gathered by a person or entity working on behalf of Defendant
       (directly or indirectly), identify the documents, including the persons and/or entities in
       possession of those documents with last known addresses.

       ANR WF.R -

5.     At the time the Claim made the basis of this Lawsuit was investigated by Defendant (and
       prior to the anticipation of litigation), describe Defendant's understanding of areas of the
       property (i.e., interior) Defendant was investigating, identifying the coverage sections
       (i.e., dwelling, other structure, contents, and/or code upgrade) of the Policy upon which
       the claim was paid or denied or partially paid or denied in part.

       ANSWER:

6.     Does Defendant contend that at the time the claim made the basis of this Lawsuit was
       investigated by Defendant (and prior to anticipation of litigation), Plaintiff failed to
       protect the property from further damage or loss, make reasonable and necessary repairs
       or temporary repairs required to protect the Property as provided under the Policy?

       ANS WER:

7.     At the time the claim made the basis of this Lawsuit was investigated (and prior to
       anticipation of litigation), identify all documents and information requested from
       Plaintiff(s) stating the date and manner in which the request was made to Plaintiff. If
       Defendant contends that Plaintiff(s) failed to provide Defendant with requested
       documents and/or information, identify all requests Plaintiff did not respond and if
       Defendant denied any portion of the claim based on Plaintiff's failure to respond.

       ANSWER:

8.     At the time the claim made the basis of this Lawsuit was investigated (and prior to the
       anticipation of litigation), did Defendant request or take any statements and/or
       examinations under oath of Plaintiff(s) as provided under the policy. If so, state the date
       and manner in which Defendant made the request, the date on which any statements or
       examinations under oath were taken and the manner in which they were recorded or
       documented, identifying all persons who requested and/or took the statement or
       examination under oath. If Defendant contends that Plaintiff(s) failed to provide
       Defendant with a requested statement or examination, describe how Plaintiff failed to
       comply with any requests, to the extent it was relied upon to deny any portion of
       Plaintiff's claim.

       ANS WER:




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9.     Identify and state each and every basis, contention and reason why Defendant Insurance
       Company has not fully paid Plaintiff's Claim, as they relate to why Defendant Insurance
       Company disputes the dollar amount of the Claim submitted to it by Plaintiff for the
       replacement of and/or costs to repair the property. and all other losses and expenses
       submitted by Plaintiff to Defendant Insurance Company in connection with the hail/wind
       storm damage claim made the basis of this suit.

       ANS WER:

10.    Identify each item of damage, loss or expense of Plaintiff's Claim that Defendant
       contends is not covered by the policy as well as all exclusions under the policy applied to.
       the claim made the basis of this lawsuit, and for each exclusion identified, state the
       reason(s) that Defendant relied upon to apply that exclusion.

       ANS WER:

11.    State whether if any persons and/or entities who handled the claim made the basis this
       Lawsuit failed to follow any rules, guidelines, policies, or procedures implemented by
       Defendant for claims similar to Plaintiff's Claim in regard to the adjustment of this claim.
       If so, identify each person and the specific rule, guideline, policy, or procedure that was
       violated.

       ANS WER:

12.    To the extent Defendant is aware, state whether the estimate(s) prepared for the claim
       made the basis of this lawsuit wrongly included or excluded any item or payment. If so,
       identify each item or payment and state whether it should have been included or excluded
       from the estimates prepared on the claim made the basis this Lawsuit.

       ANSWER:

13.    To the extent Defendant is aware, state any violations of Texas Insurance Code Section
       541 and/or 542 and/or any violations of the requirements or obligations owed to
       Plaintiff(s) under the Policy that were discovered by Defendant on this claim during the
       claims handling process.

       ANSWER:

14.    State the date Defendant first anticipated litigation.
       ANSWER:

15.    If you contend that the Plaintiff(s) made any misrepresentation regarding the Policy or
       the claim made the basis of this Lawsuit, state what specific misrepresentation(s)
       was/were made and the factual bases for your contention.

       ANS WER:

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                                          VERIFICATION

STATE OF                              §
                                      §
COUNTY OF                             §

       BEFORE ME, the undersigned authority, on this day personally appeared

                                          on behalf of                               , its duly

authorized representative, known to me to be the person whose name is subscribed to the

foregoing instrument, who on his oath did state that the facts contained in the foregoing Answers

to Interrogatories are based upon his personal knowledge and are true and correct.



                                             AUTHORIZED REPRESENTATIVE
                                             FOR DEFENDANT


       SUBSCRIBED AND SWORN TO before me, the undersigned authority, on this the

        day of                        , 201_




                                             NOTARY PUBLIC in and for
                                             The State of Texas
                                             My commission expires:




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                                                  XVIII. PRAYER

                18.1 WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that upon trial

        hereof, said Plaintiff have and recover such sums as would reasonably and justly compensate

        Plaintiff in accordance with the rules of law and procedure, as to actual damages, treble damages

        under the Texas Insurance Code, and all punitive and exemplary damages as may be found. In

        addition, Plaintiff requests the award of attorney's fees for the trial and any appeal of this case,

        for all costs of Court on Plaintiff's behalf expended, for pre judgment and post judgment interest

        as allowed by law, and for any other and further relief, either at law or in equity, to which

        Plaintiff may show Plaintiff is entitled to.

                                                       Respectfully submitted,

                                                       THE MOORE LAW FIRM
                                                       4900 North lOth Street, Suite F3
                                                       McAllen, Texas 78504
                                                       Telephone: (956) 631-0745
                                                       Telecopier: (888) 266-0971
                                                       Email: firstpartylit@moore-firm.com


                                                       By:    /s/J. Michael Moore
                                                              J. MICHAEL MOORE
                                                              State Bar No. 14349550

                                                       ATTORNEY FOR PLAINTIFF




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                                                                                                                                                              '   l ; . )STAGE y> PITNEY BoweS
                ESTHER DEGOLLADO                                                                                                                              f



               CLERK OF THE DISTRICT COURTS
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                 & COUNTY COURTS AT LAW                                                                                                                           Z1    040

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                        P.O. BOX 667                                                                                                                              0001402592MAY. 02. 2019.
             LAREDO, WEBB CO., TEXAS 78042-0667                                                                            7018 0360 0002 0026 6685




                                                           AMERICAN SECURITY INSURANCE COMPANY
                                                     ;
                                                     y.,   BY SERVING: CORPORATION SERVICE COMPANY
                                                     ~     211 E. 7TH ST, STE 620
                                                      ~    AUSTIN TX 78701-3218




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